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15
                                 IN THE UNITED STATES DISTRICT COURT
16
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
17

18
      CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-CV-04155-YGR
19    PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
      A.S.; and L.T., individuals on behalf of themselves    DECLARATION OF OREN NIMNI IN
20    and all others similarly situated,                     SUPPORT OF PLAINTIFFS’
                                                             MOTION FOR TEMPORARY
21                   Plaintiffs,                             RESTRAINING ORDER
22           v.

23    UNITED STATES OF AMERICA FEDERAL
      BUREAU OF PRISONS, et al.,
24
                     Defendants.
25

26

27

28

     NIMNI Decl. ISO Plaintiffs’ TRO                                Case No. 4:23-CV-04155-YGR
 1          I, Oren Nimni, hereby declare as follows:

 2          1.      I am an attorney admitted to practice law in the State of Massachusetts (SBN
 3
     691821). I am counsel for Plaintiffs in the above captioned matter.
 4
            2.      I submit this declaration in support of Plaintiffs’ Notice Of Motion And
 5
     Memorandum Of Points And Authorities In Support Of Motion For Temporary Restraining
 6
     Order. I have personal knowledge of the facts stated herein and, if called as a witness, could and
 7

 8   would testify competently thereto.

 9          3.      Pursuant to Civil L.R. 65-1(c), on April 18, 2024, at 10:57 PM PT I notified
10   counsel for Federal Defendants’ via email that Plaintiffs were filing this motion for a temporary
11
     restraining order.
12
            I declare under penalty of perjury that the foregoing is true and correct. Executed in
13
     Washington, DC on this 19th day of April, 2024.
14

15
                                                   By: /s/ Oren Nimni
16                                                     Oren Nimni
17
                                                   Attorneys for Plaintiffs
18

19
     Civil L.R. 5-1(i)(3) Attestation:
20
            I Kara J. Janssen attest that the other signatory concurred in the filing of this document.
21

22
                                                   By: /s/ Kara J. Janssen
23                                                     Kara J. Janssen
24

25

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                                                      1
     NIMNI Decl. ISO Plaintiffs’ TRO                                    Case No. 4:23-CV-04155-YGR
